                 IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION
Your Affiant, Gerrod L. Briggs, being first duly sworn, herby deposes and states:

                                       INTRODUCTION

       1.      Your affiant is a Special Agent with the Bureau of Alcohol, Tobacco, Firearms

and Explosives (“ATF”), United States Department of Justice, and have been so employed since

March 2015. I was previously employed as an Explosive Ordnance Disposal Technician in the

United States Army beginning in November 2010. I have attended formal training in the United

States Naval School for Explosive Ordnance Disposal, the Federal Law Enforcement Training

Center, and the ATF National Academy in Glynco, Georgia. I have received training in the

enforcement of the various criminal statutes enacted in the Gun Control Act of 1968 and in the

National Firearms Act of 1934. I am presently assigned as a Special Agent for the ATF

Columbus Field Division’s Cleveland Group II. As an ATF Special Agent, I have participated in

numerous federal and state investigations involving the sale, possession, and trafficking of

firearms and controlled substances. Through my participation in these investigations, I have

debriefed numerous defendants, confidential informants, cooperating sources, and witnesses with

personal knowledge regarding firearms or narcotics trafficking. I have also participated in

undercover operations, conducted physical and electronic surveillance, managed informants and

cooperating sources, seized evidence and contraband, executed search warrants, and arrested

defendants.

                                       PROBABLE CAUSE

       A. October 25, 2017 – 11619 Lorain Rd, Cleveland, Ohio

       2.      On October 11, 2018, Joshua WALKER was arrested by the Cleveland Police

Department (CPD) for Murder, Voluntary Manslaughter, Having Weapons While Under
Disability, and Felonious Assault for an incident that occurred 11619 Lorain Road in Cleveland,

Ohio on October 25, 2017.

       3.      On October 25, 2017, while at the Westender’s Bar located at 11619 Lorain Road

in Cleveland, Ohio, a fight broke out between two individuals. Through reviewing surveillance

footage of the bar and interviews of witnesses it was determined that two individuals were

involved in a fight inside of the bar which then spilled out the front door of the bar and ended on

the sidewalk. As the fight went outside three shots were fired and one of the individuals was

wounded. The individual who was wounded was later identified as Aaron Mason (B/M, DOB:

2/17/1985). Mason would later die from the wounds he sustained during the shooting.

       4.      Witnesses on scene stated they heard approximately three gunshots when the fight

spilled out into the street. Witnesses also stated the suspected shooter was wearing a dark

colored down vest with dark sleeves underneath.

       5.      Through witness interviews, the bar’s surveillance footage, and other evidence

found at the scene (I.E. suspect’s cell phone) homicide detectives were able to identify Joshua

WALKER as the suspect in the shooting.

       6.      Through the bar’s surveillance footage it can be seen that the individual later

identified as WALKER retrieves a firearm from his waistband as the fight progresses outside the

bar. WALKER can be seen pointing the gun at Mason and firing it while the two are in close

proximity to each other. WALKER keeps the firearm pointed at Mason as he backs away and

begins to flee on foot. Three (3) spent shell casings were recovered on scene and collected by

crime scene detectives.

       7.      A criminal history check on WALKER revealed WALKER was convicted for the

following felony in United States District Court, Northern District of Ohio: Conspiracy to
Possess with Intent to Distribute Crack Cocaine, case #1:04CR541 on or about December 20,

2004.

        B. Interstate Nexus Determination

        8.     Your affiant is a qualified ATF Interstate Nexus Expert and On March 27, 2019,

determined that the ammunition (FC 9MM Luger) was manufactured in the states of Minnesota

or Idaho, thus having traveled in interstate commerce to be found in the state of Ohio.

                                         CONCLUSION

        9.     Based upon the above listed facts and circumstances, your Affiant believes and

asserts that there is probable cause to believe that on October 25, 2017, WALKER did

unlawfully, knowingly possess ammunition in and affecting interstate commerce after having

been convicted of a crime punishable by imprisonment for a term exceeding one year, in

violation of Title 18, U.S.C., Section 922(g)(1).

        10.     The above violations were committed in the Northern District of Ohio, Eastern

Division. Your Affiant requests that an arrest warrant be issued for Joshua WALKER.



                                                     ________________________________
                                                     Gerrod Briggs, Special Agent
                                                     Bureau of Alcohol, Tobacco, Firearms and
                                                     Explosives




                                                                          2:32 PM, Mar 28, 2019
